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                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §            Case No. 4:04cr106
                                                   §            (Judge Schell)
 LARRY BOYD MALLORY (23)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 3, 2011, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Tracey

 Batson.

        On April 1, 2005, Defendant was sentenced by the Honorable Richard A. Schell to eighty-

 seven (87) months’ custody followed by five (5) years of supervised release for the offense of

 Conspiracy to Possess with Intent to Distribute Cocaine Base. On April 10, 2009, Defendant

 completed his period of imprisonment and began service of his supervised term.

        On August 29, 2011, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated the following mandatory

 condition: the defendant shall not commit another federal, state, or local crime. Violation allegations

 two, three, and four were dismissed by the Government.

        The petition alleges that Defendant committed the following acts: On August 29, 2011,

 Defendant was arrested in Lamar County, Texas, by the Paris Police Department for Resisting Arrest

 Search or Transport, a Class A Misdemeanor. Defendant entered a plea of guilty to this charge.

        Prior to the Government putting on its case, Defendant entered a plea of true to the one
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     violation. The Court recommends that Defendant’s supervised release be revoked.

                                        RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of six (6) months with no

     supervised release to follow. This sentence should be served consecutively to any sentence of

.    imprisonment the Defendant is currently serving.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 4th day of November, 2011.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
